Case 2:20-cv-07635-MWF-RAO Document 7 Filed 10/02/20 Page 1 of 2 Page ID #:51

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 20-7635 MWF (RAOx)                                    Date: October 02, 2020
 Title       Rene Urena, et al. v. FCA US LLC, et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

        A review of the docket in this action reflects that the Notice of Removal was
 filed on August 21, 2020. (Docket No. 1). Counsel for removing Defendant FCA
 US LLC (“FCA”) indicates that FCA was served with the state court complaint on
 July 22, 2020. Pursuant to Federal Rules of Civil Procedure, Rule 81(c)(2)(C),
 Defendant FCA’s response to the Complaint was due August 28, 2020.

       The Court ORDERS Plaintiff to show cause why this action should not be
 dismissed for lack of prosecution. In response to this Order to Show Cause, the
 Court will accept the following no later than OCTOBER 16, 2020.

          BY DEFENDANT: RESPONSE TO THE COMPLAINT (“Response”)
           by Defendant FCA.
                     OR
          BY PLAINTIFF: APPLICATION FOR CLERK TO ENTER DEFAULT
           as to Defendant FCA.

       No oral argument on this matter will be heard unless otherwise ordered by
 the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
 submitted upon the filing of the response to the Order to Show Cause. Failure to
 respond to the Order to Show Cause by OCTOBER 16, 2020 will result in the
 dismissal of this action.



 CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 2
Case 2:20-cv-07635-MWF-RAO Document 7 Filed 10/02/20 Page 2 of 2 Page ID #:52

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         IT IS SO ORDERED.

                                                               Initials of Preparer: RS/sjm




 CV-90 (03/15)                       Civil Minutes – General                     Page 2 of 2
